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UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
                                               )
VS.                                            )   CRIMINAL NO. 00-40101·GPM
                                               )
BRAD TAYLOR,                                   )
                                               )
                      Defendant.               )

                         VERDICT FORM· Count Twelve

       We, the jury, find the defendant, BRAD TAYLOR,      _--,..0"--1/;_1"_'""'_7...".Y'-
                                                                                       ____, of the
                                                               7    Guilty/Not Guilty

offense of distribution of a mixture and substance containing cocaine, as charged in Count 12 of
